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                                      UNITED STATES DISTRICT COURT
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                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     LARISA SOPKA, DANIELA SOPKA,                          Civil Case No. 2:24-cv-00011-BJR
10   TATYANA SOPKA,
                                                           DEFENDANT SOUTHCENTER OWNER
11                      Plaintiff,                         LLC’S ANSWER TO PLAINTIFF’S FIRST
                                                           AMENDED COMPLAINT FOR DAMAGES
12            v.                                           AND SOUTHCENTER OWNER LLC'S
                                                           CROSS-CLAIMS
13   SOUTHCENTER OWNER LLC, a Delaware
     limited liability company doing business in the
14   State of Washington; THE CHEESECAKE
     FACTORY RESTAURANTS, INC., a
15   California corporation doing business in the
     State of Washington; UNIVERSAL
16   PROTECTION SERVICE, LP, d/b/a ALLIED
     UNIVERSAL SECURITY SERVICES, a for-
17   profit foreign limited partnership JOHN AND
     JANE DOES 1-5, individuals or entities,
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                        Defendants.
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              Defendant SOUTHCENTER OWNER LLC (hereinafter "Southcenter") by and through its
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     counsel of record, hereby answers Plaintiff's First Amended Complaint for Damages (the
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     "Complaint") as follows. Unless specifically admitted or alleged, Southcenter denies each and
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     every allegation of the Complaint.
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                                                      I. PARTIES
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              1.        In response to paragraph 1 of the Complaint Southcenter lacks sufficient knowledge
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      DEFENDANT SOUTHCENTER OWNER LLC’S                           WOOD, SMITH, HENNING & BERMAN LLP
      ANSWER TO PLAINTIFF’S FIRST AMENDED                            801 Kirkland Avenue, suite 100
      COMPLAINT FOR DAMAGES AND                                           Kirkland, WA 98033
                                                                             206-204-6800
      SOUTHCENTER OWNER LLC'S CROSS-CLAIM -
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     31060666.1:12399-0007
